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                   IN THE DISTRICT COURT OF THE UNITED STATES
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                 EASTERN DIVISION

ARTAVIS D. PENDLETON, #247017,                    )
                                                  )
      Plaintiff,                                  )
                                                  )
      v.                                          ) CIVIL ACT. NO. 3:20-cv-488-ECM
                                                  )             (WO)
RAY MARTIN, et al.,                               )
                                                  )
      Defendants.                                 )

                       MEMORANDUM OPINION and ORDER

       On September 2, 2020, the Magistrate Judge entered a Recommendation (doc. 4)

to which no timely objections have been filed. After an independent review of the file

and upon consideration of the Recommendation, and for good cause, it is

       ORDERED that the Recommendation of the Magistrate Judge is ADOPTED,

and this case is DISMISSED without prejudice for the Plaintiff’s failure to file necessary

financial information as ordered by this Court.

      A separate Final Judgment will be entered.

      Done this 29th day of September, 2020.


                                        /s/ Emily C. Marks
                                  EMILY C. MARKS
                                  CHIEF UNITED STATES DISTRICT JUDGE
